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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No._______________


  Larry Tanner,
  Individually,

                Plaintiff,

  v.

  AFL Maintenance Group, Incorporated,

  and

  Jerry Natividad, individually

                Defendants.


                                  Complaint and Jury Demand


         COMES NOW, Plaintiff, Larry Tanner, and for his complaint against Defendants

  states as follows:

                                         Introduction

         This is an action for unpaid overtime wages brought pursuant to the federal Fair

  Labor Standards Act, pursuant to 29 U.S.C. § 207, to 42 U.S.C § 1981 and an action

  under the Colorado Wage Act for unpaid wages. Section 8-4-109, COLO. REV. STAT.

                                         Jurisdiction

  1.     Jurisdiction is conferred by 28 U.S.C. §1331 and 28 U.S.C. §1367.

                                           Venue

  2.     The unlawful employment actions described below were committed in the State
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  of Colorado. Venue is proper in the United States District Court for the District of

  Colorado under 28 U.S.C. § 1391(b).

                                          Parties
  3.     Larry Tanner is an African-American person.

  4.     AFL Maintenance Group, Incorporated is a Colorado corporation.

  5.     AFL Maintenance Group, Incorporated is doing business as American Facilities

  Maintenance Group.

  6.     AFL Maintenance Group, Incorporated is in the business of providing janitorial

  services to its customers with its principal place of business at 1075 S. Yukon Street,

  Suite 300, Lakewood, Colorado.

  7.     Upon Information and belief AFL Maintenance Group, Incorporated had more

  than $500,000.00 in gross receipts each year 2015, 2016 and 2017.

  8.     At times relevant to the Complaint Jerry Natividad was an owner and manager of

  AFL Maintenance Group, Incorporated.

  9.     Jerry Natividad is white or Hispanic.

  10.    Jerry Natividad made all decisions or delegated to others the discretionary

  authority to do so concerning the demotion of Larry Tanner from a supervisor position,

  the replacement of Larry Tanner as a supervisor with a white or Hispanic employee and

  the termination of Larry Tanner’s employment and replacement of him with a white or

  Hispanic employee.

  11.    At all times relevant to the Complaint Jerry Natividad acted directly and indirectly

  in the interests of the employer in relation to Larry Tanner by setting his rate of pay, the



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  method of compensation, hourly, and determining not to pay Larry Tanner time and

  one-half for hours worked over forty.

  12.   AFL Maintenance Group, Incorporated was Larry Tanner’s employer within the

  meaning of 29 U.S.C. § 203(d) at all times relevant to the Complaint.

  13.   Jerry Natividad was Larry Tanner’s employer within the meaning of 29 U.S.C. §

  203(d).

  14.   AFL Maintenance Group, Incorporated was Larry Tanner’s employer within the

  meaning of Section 8-4-101(6) COLO. REV. STAT.

                                    General Allegations

  15.   Paragraphs 1 through 14 are incorporated herein by reference.

  16.   Larry Tanner worked for AFL Maintenance Group, Incorporated in Colorado

  Springs beginning in 2015 as a Floor Tech and as a Cleaner.

  17.   Larry Tanner was assigned to clean several large buildings including the

  Colorado Springs Police Operations Center, US Bank building and buildings owned by

  the Falcon School District, among others.

  18.   Throughout Larry Tanner’s employment in 2015, while he was employed as a

  Floor Tech and as a Cleaner, he regularly worked at least forty hours a week Monday

  through Friday, during regular business hours.

  19.   Plaintiff worked additional hours on weekends cleaning buildings and performing

  other work for employees who were sick or otherwise unavailable to work.

  20.       Defendant Jerry Natividad knew that AFL Maintenance Group, Incorporated was

  required to pay overtime (one and one-half the regular rate) to Mr. Tanner and others


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  for the weekend hours because he knew of the federal Fair Labor Standards Act’s

  requirement that hours over forty be paid at the overtime premium rate.

  21.     Defendant Jerry Natividad knew that AFL Maintenance Group, Incorporated was

  required to pay overtime (one and one-half the regular rate) to Larry Tanner and others

  who performed cleaning on weekends because he knew that Larry Tanner and others

  were regularly working forty hours per week during regular business hours Monday

  through Friday.

  22.     In an effort to hide and cover up the fact that he and AFL Maintenance Group,

  Incorporated was not paying overtime to employees for weekend hours over forty he

  implemented a pay system which recorded hours worked over forty as “project work” on

  employees’ pay stubs and failed to record the number of hours worked over forty on the

  paystub.

  23.     In an effort to hide and cover up the fact that he and AFL Maintenance Group,

  Incorporated were not paying overtime to employees for hours worked over forty he

  recorded hours worked over forty on employee paystubs as a single quantity e.g. “1”

  and the total dollars paid at the regular hourly rate as payment of “1” unit or quantity of

  work.

  24.     In the foregoing manner Jerry Natividad avoided recording on the paystub the

  number of overtime hours worked, which would have alerted anyone looking at the

  paystub (including the United States Department of Labor) that he and AFL

  Maintenance Group, Incorporated were not paying an overtime premium for hours

  worked over forty and were paying overtime hours at the regular hourly rate.


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  25.    Jerry Natividad instructed his staff to pay the overtime hours based on project

  reports signed by customers rather than have the employee record the weekend

  overtime hours on his regular timesheet.

  26.    In November 2015 Plaintiff’s supervisor quit unexpectedly.

  27.    Plaintiff was the Lead working directly under his supervisor but was not offered

  the position of supervisor when his supervisor quit unexpectedly.

  28.    Instead of promoting the Plaintiff, Defendant hired a Hispanic woman, who was

  not familiar with the position to fill the supervisor position.

  29.    Within a few days the Hispanic woman quit and Plaintiff was promoted to the

  position of supervisor.

  30.    Plaintiff performed all of his duties as supervisor in a satisfactory manner and

  was never told that his performance was in any way unsatisfactory.

  31.    Plaintiff was not placed on a salary when he was promoted to supervisor and

  continued to be paid hourly for the hours he worked at his regular rate of pay as shown

  on his paychecks to be $11.50 per hour.

  32.    Plaintiff was paid a $300.00 per pay period bonus for his work as a supervisor.

  33.    Plaintiff continued to work weekend hours, covering shifts of other employees,

  which were above and beyond his regular forty hour work week.

  34.    Defendant continued to pay the Plaintiff at his regular hourly rate of pay for the

  overtime hours worked on weekends.

  35.     In the fall of 2016 Defendant brought on a new employee, Jack Smart, who was

  white or Hispanic to replace the Plaintiff as a supervisor.


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  36.    Plaintiff was not told why he was being replaced as a supervisor, he was required

  to train Jack Smart and after Jack Smart was trained Jack Smart was promoted to

  supervisor and Plaintiff was demoted to Cleaner/Floor Tech and his $300.00 per pay

  period bonus was taken away from him.

  37.    Plaintiff was as qualified or more qualified than Jack Smart for the supervisor

  position.

  38.    Plaintiff noticed that Jack Smart treated African-American employees less

  favorably than Hispanic and white employees. For example, he accommodated the

  schedules of Hispanic and white employees who had second jobs but did not

  accommodate the schedules of African American employees who had second jobs. On

  more than one occasion the Plaintiff noticed that Jack Smart changed the status of

  African American employees without cause and reduced their hours.

  39.    Jack Smart began giving the Plaintiff fewer weekend hours even though Plaintiff

  complained and asked to be assigned extra hours on the weekends.

  40.    After a few months with reduced hours Jack Smart terminated the Plaintiff’s

  employment and replaced him with a white/Hispanic employee.

  41.    Plaintiff has suffered damages as the result of Defendants’ conduct.

                                   First Cause of Action
         Against AFL Maintenance Group, Incorporated and Jerry Natividad
         (for violations of the federal Fair Labor Standards Act 29 U.S.C. § 207)

  42.    Paragraphs 1 through 41 are incorporated herein by reference.

  43.    The Defendants failed to pay Plaintiff for all hours worked in excess of forty in a

  single work week at one and one-half times his regular hourly rate of pay.


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  44.   The Defendants’ failure to pay Plaintiff one and one-half times his regular rate of

  pay for all hours worked in excess of forty hours in a single work week was in violation

  of the federal Fair Labor Standards Act (29 U.S.C. § 207).

  45.   The Defendant’s violations of the federal Fair Labor Standards Act were willful.

                                  Second Cause of Action
                     Against AFL Maintenance Group, Incorporated
                     (Colorado Wage Act, Section 8-4-109 COLO. REV. STAT.)

  46.   Paragraphs 1 through 45 are incorporated herein by reference.

  47.   Plaintiff’s employment was terminated at the volition of Defendant.

  48.   At the time Plaintiff’s employment was terminated he was not paid for all wages

  earned.

  49.   Plaintiff’s unpaid overtime wages were earned, vested and determinable at the

  time his employment ended.

  50.   Plaintiff made a written demand upon Defendant AFL Maintenance Group,

  Incorporated for payment of wages, specifically unpaid overtime wages and vacation

  pay, pursuant to Section 8-4-109 COLO. REV. STAT. on or before August 11, 2017.

  51.   Defendant tendered unpaid vacation pay to the Plaintiff but paid nothing in

  response to Plaintiff’s demand for overtime wages.

  52.   Defendant’s failure to pay Plaintiff’s earned, vested, and determinable wages

  violated the Colorado Wage Act, C.R.S. § 8-4-101, et seq.

                                     Third Cause of Action
                   Against Defendant AFL Maintenance Group, Incorporated
                              (For Violations of 42 U.S.C. § 1981)

  53.   Paragraphs 1 through 52 are incorporated herein by reference.


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  54.   Larry Tanner is an African-American protected from racial discrimination by 42

  U.S.C. § 1981.

  55.   Larry Tanner received disparate treatment compared to a similarly situated white

  or Hispanic employee when in 2017 Defendant demoted him from his supervisor

  position, reduced his pay, reduced the amount of work assigned to him and replaced

  him as a supervisor with Jack Smart a white or Hispanic employee.

  56.   Larry Tanner received disparate treatment compared to a similarly situated white

  or Hispanic employee when in 2017 Defendant terminated his employment and hired a

  white or Hispanic employee to replace him.

  57.   Defendant’s purpose in replacing him with a white or Hispanic employee was to

  discriminate against him because of his race.

  58.   Defendant’s purpose in terminating Plaintiff’s employment was to discriminate

  against him because of his race.

  59.   The disparate treatment administered to Mr. Tanner during his employment with

  Defendant was administered by managers or by supervisors authorized to act on behalf

  of the Defendant in relation to Mr. Tanner’s employment.

  60.   Upon information the disparate and hostile treatment from managers or a

  supervisor stemmed from a racial animus.

  61.   Defendant’s actions and omissions violated Plaintiff’s rights secured by 42 U.S.C.

  § 1981.

                                       Relief Requested

        Plaintiff requests the following relief:


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        a.     Payment of unpaid overtime wages for all hours worked over forty in a

        single work week at one and one-half times Mr. Tanner’s regular hourly rate of

        pay.

        b.     Liquidated damages pursuant to 29 U.S.C. § 216 (b),

        c.     Back pay,

        d.     Compensatory damages for emotional distress,

        e.     Attorney’s fees and costs,

        f.     Penalties pursuant to C.R.S. § 8-4-109 (3),

        g.     Pre- and post-judgment interest at the highest rate allowed by law; and

        h.     All other legal or equitable relief to which Plaintiff is entitled.

                                         Jury Demand

                     Plaintiff requests this matter be tried by a jury.

        Respectfully submitted this 9th day of January, 2018

                                             CORNISH & DELL’OLIO, P.C.


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